

People v Garcia (2017 NY Slip Op 06622)





People v Garcia


2017 NY Slip Op 06622


Decided on September 26, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 26, 2017

Friedman, J.P., Richter, Moskowitz, Gesmer, JJ.


4502 2421/15

[*1]The People of the State of New York, Respondent,
vBernard Garcia, Defendant-Appellant.


Seymour W. James, Jr., The Legal Aid Society, New York (Harold V. Ferguson, Jr. of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael J. Yetter of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Gregory Carro, J.), rendered January 28, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
ENTERED: SEPTEMBER 26, 2017
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








